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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR19-0115-JCC-2
10                              Plaintiff,                     ORDER
11          v.

12   JOSEPH SAM,

13                              Defendant.
14

15          This matter comes before the Court sua sponte. On February 5, 2021, the Court continued
16   the trial until May 17, 2021. (Dkt. No. 107). As it has for the past several months, the COVID-19
17   pandemic continues to impact the Court’s operations. (See W.D. Wash. General Orders 01-20,
18   02-20, 07-20, 08-20, 11-20, 13-20, 15-20, 18-20, 04-21 each of which the Court incorporates by
19   reference.) Specifically, the pandemic has made it difficult for the Court to obtain an adequate
20   spectrum of jurors to represent a fair cross section of the community, and public health guidance
21   has impacted the ability of jurors, witnesses, counsel, and Court staff to be present in the
22   courtroom. (See generally id.) Although the availability of a vaccine makes it likely that the
23   Court will be able to resume in-person criminal trials in May 2021, the Court will continue to be
24   limited by public health measures, such as limits on the number of people in the courthouse and
25   courtrooms, which are likely to limit the Court’s ability to try cases as efficiently as it would
26   absent a pandemic. (See W.D. Wash. General Order 04-21 at 2.) Accordingly, the Court FINDS


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 1   that the ends of justice served by granting a continuance outweigh the best interests of Mr. Sam

 2   and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:

 3          1. The COVID-19 pandemic has made it difficult for the Court to obtain an adequate

 4              spectrum of jurors to represent a fair cross section of the community, which would

 5              likely make proceeding with an earlier trial impossible or would result in a

 6              miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

 7          2. Public health guidance has impacted the ability of jurors, witnesses, counsel, and

 8              Court staff to be present in the courtroom. Therefore, proceeding with an earlier trial
 9              would likely be impossible or would result in a miscarriage of justice. See 18 U.S.C.
10              § 3161(h)(7)(B)(i).
11          In addition, the Court GRANTS Mr. Sam’s request for an evidentiary hearing on his
12   motion to suppress (Dkt. No. 55) and will hold the hearing on Thursday, June 3, 2021.
13          For the foregoing reasons, the Court ORDERS:
14          1. The May 17, 2021 jury trial is CONTINUED until June 7, 2021 at 9:30 a.m.
15          2. The period from April 30, 2020 until June 7, 2021 is an excludable time period under
16              18 U.S.C. § 3161(h)(7)(A) for the reasons stated above.
17          3. The period from March 13, 2020 until June 3, 2021 is an excludable time period
18              under 18 U.S.C. § 3161(h)(1)(D).

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20          DATED this 29th day of March 2021.




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                                                          John C. Coughenour
24                                                        UNITED STATES DISTRICT JUDGE
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